         Case 2:24-cv-07453-FLA-AJR                              Document 4 Filed 08/30/24                            Page 1 of 1 Page ID
AO 121 (Rev. 06/16)                                                   #:128
TO:

                   Register of Copyrights                                                              REPORT ON THE
                    U.S. Copyright Office                                                      FILING OR DETERMINATION OF AN
                 101 Independence Ave. S.E.                                                           ACTION OR APPEAL
                 Washington, D.C. 20559-6000                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        G
        ✔ ACTION               G APPEAL                                   United States District Court, Central District of California
DOCKET NO.                          DATE FILED
      2:24-cv-07453                           8/30/2024
PLAINTIFF                                                                             DEFENDANT
PCR DISTRIBUTING CO., a California corporation,                                       JOHN DOES 1 - 10, d/b/a NHENTAI.NET




       COPYRIGHT
                                                                TITLE OF WORK                                                AUTHOR OR WORK
    REGISTRATION NO.

1 TX0009312666                       Submission Eternal My Lady, My Master.                                         PCR DISTRIBUTING CO.

2 TX0009380863                       Hey... Let’s Do It.                                                            PCR DISTRIBUTING CO.

3 TXu002390196                       The Hall Monitor on S.L.U.T. Duty 3 and 9 Other Unp                            PCR DISTRIBUTING CO.

4 TXu002409564                       Demihumans for Dessert and 9 Other Unpublished W                               PCR DISTRIBUTING CO.

5 TXu002417803                       I’ll Squeeze You Dry and 9 Other Unpublished Works.                            PCR DISTRIBUTING CO.


      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill             G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                                AUTHOR OF WORK
    REGISTRATION NO.

1

2

3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                       DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                              DATE



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